UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK.

GISELLE PETERS,

Plaintiff, THIRD-PARTY COMPLAINT

IN A CIVIL ACTION

~-against-

METRO-NORTH RAILROAD COMPANY, 18 Civ. 3053 (SBF)

Defendant.

METRO-NORTH RAILROAD COMPANY,
Third-Party Plaintiff,
-against-

SLG GRAYBAR MESNE LEASE LLC, SL
GREEN OPERATING PARTNERSHIP, LP.,
and SL GREEN REALTY CORP. d/b/a SLG
ENTITIES,
Third-Party Defendants.

The defendant/third-party plaintiff, METRO-NORTH RAILROAD COMPANY (“Metto-
North”), by its attorney, Richard L. Gans, General Counsel for Metro-North, as and for its
Third-Party Complaint, respectfully alleges upon information and belief, without admitting the
allegations in Plaintiffs Complaint, the following:

AS AND FOR A FIRST CAUSE OF ACTION AGAINST

FIRST: At all times hereinafter mentioned, the defendant/third-party plaintiff, Metro-
North, is a public benefit corporation, doing business in the City and State of New York.

SECOND: Upon information and belief, at all times hereinafter mentioned, the third-patty
defendants, SLG GRAYBAR MESNE LEASE LLC, SL GREEN OPERATING PARTNERSHIP,
L.P., and SL GREEN REALTY CORP. d/b/a SLG ENTITIES ate domestic corporations duly

organized and existing under and by virtue of the laws of the State of New York.
THIRD: Upon information and belief, at all times hereinafter mentioned, the third-party
defendants, SLG GRAYBAR MESNE LEASE LLC, SL GREEN OPERATING PARTNERSHIP,
L.P., and SL GREEN REALTY CORP. d/b/a SLG ENTITIES transacted business within the
State of New York.

FOURTH: Upon information and belief, at all times hereinafter mentioned, the third-party
defendants, SLG GRAYBAR MESNE LEASE LLC, SL GREEN OPERATING PARTNERSHIP,
L.P., and SL GREEN REALTY CORP. d/b/a SLG ENTITIES, are domestic limited liability
companies; (ii) Partnership is a foreign limited liability partnership authorized to do business in New
York; and (tit) SLG is incorporated in Delaware and authorized to do business in New York.

FIFTH: Upon information and belief, at all times hereinafter mentioned, the third-party
defendants, SLG GRAYBAR MESNE LEASE LLC, SL GREEN OPERATING PARTNERSHIP,
L.P., and SL GREEN REALTY CORP. d/b/a SLG ENTITIES, ate foreign limited partnerships
duly organized and existing under and by virtue of the laws of the States of Delaware and New
York.

SIXTH: Upon information and belief, at all times hereinafter mentioned, the third-party
defendants, SLG GRAYBAR MESNE LEASE LLC, SL GREEN OPERATING PARTNERSHIP,
L.P., and SL GREEN REALTY CORP. d/b/a SLG ENTITIES, are foreign corporations duly
otganized and existing under and by virtue of the laws of the States of Deleware and New York.

SEVENTH: Upon information and belief, at all times hereinafter mentioned, the
third-party defendants, SLG GRAYBAR MESNE LEASE LLC, SL GREEN OPERATING
PARTNERSHIP, L.P., and SL GREEN REALTY CORP. d/b/a SLG ENTITIES transacted
business within the State of New York.

EIGHTH: That prior to this third-party action, the plaintiff, Gisselled Peters, commenced

an action against defendant/ third-party plaintiff Metro-North herein and without admitting the
allegations contained therein, a true copy of the plaintiff's summons and complaint is attached
hereto as Exhibit “A” to this third-party complaint and made a part thereof.

NINTH: That attached to this third-party complaint as Exhibit “B” is the answer of the
defendant/third-party plaintiff Metro-North.

TENTH: That the plaintiff by and for her complaint alleges that on or about the 26 day
of January, 2016, at approximately 6:30 p.m. she was caused to allegedly sustain personal injuries
when “she slipped and fell on the wet floor in the Women’s Restroom located on the 12 floor 420
Lexington Avenue in the City of New York, State of New York, (“the premises”), by reason of
alleged negligence of the defendant/third-party plaintiff Metro-North in, infer ala, failing to maintain
the Women’s Restroom and warn the plaintiff that the Women’s Restroom had just been cleaned
and the floor was in a wet and slippery condition.

ELEVENTH: Upon information and belief, on and prior to the date of the alleged
incident, the third-party defendants were the ownets of the premises wherein plaintiff alleges to have
been injured.

TWELFTH: At all times herein mentioned, the third-party defendants, by themselves, their
agents, tenants, licensees, servants and/or employees, owned the aforesaid premises.

THIRTEENTH: At all times herein mentioned, the sida pay defendants, by
themselves, their agents, tenants, licensees, servants and/or employees, leased the aforesaid
premises.

FOURTEENTH: At all times herein mentioned, the third-party defendants, by
themselves, their agents, tenants, licensees, servants and/or employees, occupied the aforesaid
ptemises.

FIFTEENTH: At all times herein mentioned, the third-party defendants, by themselves,

their agents, tenants, licensees, servants, employees, agencies and/or departments, operated the
aforesaid premises, including but not limited to the 12" floor Women’s Restroom.

SIXTEENTH: At all times herein mentioned, the third-party defendants, by themselves,
their agents, tenants, licensees, servants, employees, agencies and/or departments, managed the
aforesaid premises including but not limited to the 12 floor Women’s Restroom

SEVENTEENTH: At all times herein mentioned, the third-party defendants, by
themselves, their agents, tenants, licensees, servants, employees, agencies and/or departments,
controlled the aforesaid premises including but not limited to the 12 floor Women’s Restroom.

EIGHTEENTH: At all times herein mentioned, the third-party defendants, by
themselves, their agents, tenants, licensees, servants, employees, agencies and/or departments,
reserved to themselves the right to enter, clean, inspect, repait and/or maintain the aforesaid
premises including but not limited to the 12" floor Women’s Restroom.

NINETEENTH: At all times herein mentioned, the third-party defendants, by
themselves, their agents, tenants, licensees, servants, employees, agencies and/ot departments,
supervised and/ot had the right to supervise the aforesaid premises.

TWENTIETH: At all times herein mentioned, the third-party defendants, by themselves,
their agents, tenants, licensees, servants, employees, agencies and/or departments, inspected and/or
had the right to inspect the aforesaid premises.

TWENTY-FIRST: On January 26, 2016, Mesne Lease was the assignee of a sublease for
the building at 420 Lexington Avenue, New York, New York (the “Premises”) and lessor of a
pottion of the Premises to Metro-North under a July 31, 1994 Lease Agreement, as modified by a
January 22, 1996 Lease Modification Agreement, further modified by a June 30, 1998 Second Lease
Modification Agreement, further modified by a January 30, 2008 third Lease Modification
Agreement, and further modified by an August 29, 2013 Fourth Lease Modification, Extension and

Expansion Agreement (the “Lease’’)
TWENTY-SECOND: That for some period of time prior to January 26, 2016 at
approximately 6:30 pm third-party defendants created, caused, allowed, suffered and/or permitted
there to exist and be present the condition alleged by plaintiff in her complaint without any
knowledge on the part of third-party plaintiff.

TWENTY-THIRD: ‘That if the plaintiff was caused to sustain damages at the time and
place set forth in the plaintiffs complaint through any carelessness, recklessness, or negligence
and/or breach of lease or warranty other than the plaintiff's own carelessness, recklessness, ot
negligence, said damages were sustained by reason of the carelessness, recklessness, or negligence
and/or acts of omission or commission and/or breach of lease and/or breach of warranty and/or
breach of warranty of habitability by the third-party defendants, their agents, servants, and/or
employees; and if any judgment is recovered herein by the plaintiff against the
defendant/third-party plaintiff, then the third-party plaintiff will be damaged thereby and the
thitd-party defendants are or will be responsible therefore in whole or in part.

TWENTY-FOURTH: Upon information and belief, that at all times hereinafter
mentioned, the third-party defendants, by themselves, their respective agents, tenants, licensees,
servants, and/or employees, had an obligation imposed by the Administrative Code of The City of
New York, the New York City Fire Code and the New York City Building Code to inspect,
maintain and repair the aforementioned premises and to keep it safe, free of hazards and in a state
of good repair so that same would not constitute a danger and a hazard to persons on or about the
premises and specifically to this third-party plaintiff and to plaintiff.

TWENTY-FIFTH: That by reason of the foregoing, the third-party defendants will be
liable to the third-party plaintife in the full amount of a recovery herein by the plaintiff, or for that:

portion thereof caused by the relative responsibility of the third-party defendants, and the
third-party defendants are bound to pay any and all attorneys’ fees and costs of investigations and

disbursements.

AS AND FOR A SECOND CAUSE OF ACTION AGAINST THIRD-PARTY
DEFENDANTS SLG GRAYBAR MESNE LEASE LLC and SLG ENTITIES,

TWENTY-SIXTH: Defendant/Thitd-Party Plaintiff repeats and reiterates the allegations
contained in paragraphs FIRST through TWENTY-FIFTH as though more fully set forth herein.

TWENTY-SEVENTH: Defendant/Third-Patty Plaintiff, to date, has paid all attorneys
fees, costs, disbursements and other expenses incurred by it from the time of filing of the underlying
PETERS personal injury action.

TWENTY-EIGHTH: All expenses, etc., paid by Defendant/Third-Party Plaintiff for its
defense in the underlying PETERS action have been necessarily expended in good faith, in the
absence of Third-Party Defendants’ compliance with their obligations under their lease with
Defendant/Third-Party Plaintiff and/or through the insurance policies they acquited to defend and
indemnify Metro-North in the underlying action.

TWENTY-NINTH: Payment of these expenses by Metro-North has directly benefited
Third-Party Defendants because said Third-Party Defendants have wrongfully failed and refused to
provide defense and/or indemnity to Defendant/Third-Party Plaintiff herein, which was tendered to
the Third-Party Defendants on or about July 11, 2018.

THIRTIETH: Third-Party Defendants have wrongfully denied and unjustly retained the
benefit of the defense of Defendant/Third-Party Plaintiff Metro-North.

THIRTY-FIRST: Defendant/Third-Party Plaintiff Metro-North is entitled to a reasonable
and legitimate expectation that the said Third-Party Defendants reimburse Metto-North for all
attorneys’ fees, costs, disbursements and other expenses expended in its defense in the underlying
action, which is the obligation of the said Third-Party Defendants, and not the Defendant/Third-

Party Plaintiff, to satisfy.
THIRTY-SECOND: Defendant/Third-Patty Plaintiff duly demands that Third-Party
Defendants assume the defense and indemnity of Metro-North and reimbutse it for all attorneys’
fees, costs, disbursements and other expenses.

THIRTY-THIRD: Defendant/Third-Party Plaintiff Metro-North has suffered and will
continue to suffer damages, harm and prejudice by virtue of the failure of the Third-Party
Defendants to teimburse Metro-North for all attorneys’ fees, costs, disbursements and other
expenses incurred by Metro-North in its defense in the underlying action.

THIRTY-FOURTH: Third-Party Defendants are liable to reimburse Metro-North for all
attorneys’ fees, costs, disbursements and other expenses, plus interest, incurred by Metro-North in
its defense in the underlying action brought by PETERS and judgment should be entered
accordingly.

WHEREFORE, Defendant/Third-Patty Plaintiff METRO-NORTH RAILROAD
COMPANY pray that these questions and issues be tried promptly and submit that the third-party
action herein is ptoper and meritorious since suit has been instituted by GISSELLE PETERS and
since Third-Party Defendants SLG GRAYBAR MESNE LEASE LLC and SLG ENTITIES., fietein
have failed to provide indemnification and/or insutance coverage pursuant to their obligations set
forth above which have all been to the detriment of the Defendant/Third-Party Plaintiff, and pray
that the following declarations be made:

A. That Third-Party Defendants SLG GRAYBAR MESNE LEASE LLC and SLG

ENTITIES, are obligated to retmburse Defendant/Third-Party Plaintiff, METRO-
NORTH COMMUTER RAILROAD for all attorneys’ fees, costs, disbursements
and other expenses incurred in its defense in the underlying action commenced by

GISSELLE PETERS and,
B. A. That Third-Party Defendants SLG GRAYBAR MESNE LEASE LLC and
SLG ENTITIES, are obligated to defend and indemnify Defendant/Third-Party
Plaintiff, METRO-NORTH COMMUTER RAILROAD for all attorneys’ fees,
costs, disbursements and other expenses incurred in its defense and/or settlement in
the underlying action commenced by GISSELLE PETERS and,

C. That the Defendant/Third-Patty Plaintiff be granted such other, further, and
different relief in the declaration of tights and legal limitations of the parties to this

action as this court may deem just, proper and equitable.

Dated: New York; New York
August 3, 2018

RICHARD L. GANS
GENERAL COUNSEL

METRO-ANORTH oe COMPANY
v t

By: Jesse A. Kaye

Attprneys for Defendant/Third-
Party Plaintiff

420 Lexington Avenue, 11% Floor
New York, New York 10170

212- 340-2538

TO:

George Cahill, Jr., Esq.
Cahill & Petry, P.C.
Attorney’s for Plaintiff
43 Trumbull Street
New Haven, CT’ 06510
(203)777-1000

SLG GRAYBAR MESNE LEASE LLC, SL GREEN OPERATING PARTNERSHIP
L.P., and SL GREEN REALTY CORP. d/b/a SLG ENTITIES

c/o National Registered Agents, Inc.

111 Eighth Avenue

New York, New York 10011

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SLG GRAYBAR MESNE LEASE LLC, SL GREEN OPERATING PARTNERSHIP,
L.P., and SL GREEN REALTY CORP. d/b/a SLG ENTITIES,

420 Lexington Avenue

New York, New York 10170

SLG GRAYBAR MESNE LEASE LLC, SL GREEN OPERATING PARTNERSHIP,
L.P., and SL GREEN REALTY CORP. d/b/a SLG ENTITIES

WESCHLER & COHEN, LLP

17 State Street, 7 Floor —

New York, New York 10004

Tel; (212) 847-7900
EXHIBIT A
AQ 398 (Rev. 01/09) Notice of a Lawsuit and Request to Waive Service of a Summons

UNITED STATES DISTRICT COURT
for the
Southern District of New York

GISELLE PETERS,
Plaintiff
v.
METRO-NORTH RAILROAD COMPANY ,
Defendant

Civil Action No. 1:18-ev-03053 + (KBF)

NOTICE OF A LAWSUIT AND REQUEST TO WAIVE SERVICE OF A SUMMONS

Metro-North Railroad Company

c/o Linda Montanino, Agent—for—Service,. 420 Lexington Avenue, 11th Floor,.New York, NY
(Name of the defendant or - if the defendant is a corporation, partnership, or association - an officer or agent authorized to receive service) 10170

Tor

Why are you getting this?

A lawsuit has been filed against you, or the entity you represent, in this court under the number shown above.
A copy of the complaint is attached.

This is not a summons, or an official notice from the court. It is a request that, to avoid expenses, you waive formal
service of a summons by signing and returning the enclosed waiver. To avoid these expenses, you must return the signed
waiver within 60 days (give at least 30 days, or at least 60 days if the defendant is outside any judicial district of the United States)
from the date shown below, which is the date this notice was sent. Two copies of the waiver form are enclosed, along with
a stamped, self-addressed envelope or other prepaid means for returning one copy. You may keep the other copy.

What happens next?

If you return the signed waiver, I will file it with the court. The action will then proceed as if you had been served
_ on the date the waiver is filed, but no summons will be served on you and you will have 60 days from the date this notice

is sent (see the date below). to answer the complaint (or 90 days if this notice is sent to you outside any judicial district of
the United States),

If you do not return the signed waiver within the time indicated, I will arrange to have the summons and complaint
served on you. And I will ask the court to require you, or the entity you represent, to pay the expenses of making service.

Please read the enclosed statement about the duty to avoid unnecessary expenses.

I certify that this request is being sent to you on the date below. (

Signature of the attorney or

Date: April 17, 2018

George J. Cahill, Jr., Esq.

Printed name

Cahill & Perry, P.C.

43 Trumbull Street, New Haven, CT 06510

IR EC Ev EID Address

cahill@trainlaw.com
E-mail address

(203) 777-1000

Telephone number

APR 25 2018

Metro-North Ratlroad
LEGAL DEPARTMENT

Case 1:18-cv-03053-KBF Document 4 Filed 04/10/18 Page 1 of 4

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

x
GISELLE PETERS, CIVIL ACTION

Plaintiff NO. 1:18-cv-03053~KBF
VS.
METRO-NORTH RAILROAD COMPANY,

Defendant

X
COMPLAINT
NATURE OF ACTION

1. The Plaintiff brings this action against the Defendant for injuries suffered by

| her while in the employ of the Defendant Railroad.

JURISDICTION

2. This Court has subject matter jurisdiction in this case pursuant to the Federal
Employers’ Liability Act, 45 U.S.C. § 51 ef seq. Venue properly lies in this Court

pursuant to 45 U.S.C. § 56.

PARTIES

3. The Plaintiff is domiciled in West Hempstead, New York.

Case 1:18-cv-03053-KBFE Document 4 Filed 04/10/18 Page 2 of 4

4. The Defendant, Metro-North Railroad Company, (hereinafter referred to as
Defendant Railroad), is a railroad corporation duly established by law, and having a

usual place of business in New York, New York.

FACTS
5. During all times herein mentioned, the Defendant Railroad was a common
carrier engaged in the business of interstate commerce, and as such, operated a
failroad in such business between New York, New York, and New Haven, Connecticut.
6. At the time the Plaintiff received the injuries complained of, she was
‘employed by the Defendant Railroad as a Human Resources Business Partner in its
offices located at 420 Lexington Avenue, New York, New York.

7. At the time the Plaintiff received the injuries complained of, the Defendant
Railroad was engaged: in interstate commerce and the Plaintiff was employed in
furtherance of said commerce.

8. On or about January 26, 2016 at approximately 6:30 p.m., while the Plaintiff
was on duty working as a Human Resources Business Partner, she slipped and fell on
the wet floor in the Women’s Restroom. As a result, the Plaintiff siistainéd injuries to

both of her knees and both of her wrists.
Case 1:18-cv-03053-KBE Document 4 Filed 04/10/18 Page 3 of 4

AS AND FOR A FIRST CAUSE OF ACTION

9. The Plaintiff adopts by reference and realleges each and every allegation set
forth in paragraphs 1 through 8 of this Complaint with the same forth and effect as if
fully set forth herein.

10.. The Defendant Railroad, its agents, servants, and employees failed in its
nondelegable duty to provide the Plaintiff with a reasonably safe place to work and were
negligent in one or more of the following ways:

a) it carelessly maintained the work area of the office building by permitting the
Women’s Restroom floor to be left in a wet and slippery condition after it was cleaned;

b) it failed to. piovide any warning to the Plaintiff that the Women’s Restroom
had just been claaned and the floor was in 4 wet and slippery condition.

11. As a result of the negligence in whole or in part of the Defendant Railroad,
its agents, servants, ot employees, the Plaintiff was injured and sustained torn
ligaments with strained tendons in both wrists and contusions and severe aggravation
to both knees.

12. As a result of the failure of the Defendant Railroad, its agents, servants, or
employees to use reasonable care to provide the Plaintiff with a safe place in which to
work and negligence, the Plaintiff was injured.

13, As a result of the said injuries, the Plaintiff has suffered and will suffer lost
wages and benefits,-incurred medical expenses, suffered physical pain and mental
anguish and will continue to do so in the future. The Plaintiff has permanent loss of

function and has an impairment to her earning capacity.
Case 1:18-cv-03053-KBF Document 4 Filed 04/10/18 Page 4 of 4

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WHEREFORE, in order to fairly and justly compensate the negligently injured
Plaintiff and thereby promote safe working conditions on the Defendant Railroad, the
Plaintiff demands a judgment for monetary damages against the Defendant Railroad in

addition to any further relief the Court deems just and equitable.

PLAINTIFF DEMANDS TRIAL BY JURY.

‘By her attorneys,

43 Trumbull Street

New Haven, Connecticut 06510
Telephone: (203) 777-1000
Fax: 203 865-5904
cahill@trainlaw.com
EXHIBIT B
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Xx
GISELLE PETERS,
Plaintiff, 18-cv-03053 (KBF)
-against-
ANSWER
METRO-NORTH RAILROAD COMPANY,
DEFENDANT DEMANDS A
Defendant. -. BIFURCATED TRIAL
x

: Defendant, Metro-North Commuter Railroad (“Metro-North”), by its attorney,
Richard L. Gans, Esq., General Counsel, as and for its Answer to the Complaint of the
Plaintiff, responds as follows:

COMPLAINT
NATURE OF ACTION
1. Defendant neither admits or denies the allegations contained in paragraph

1 of the complaint referring all questions of law and fact to judge and

jury
2 JURISDICTION.
2. Admits the allegations contained in paragraph 2 of the complaint.
PARTIES
3. Denies knowledge or information sufficient to form a belief as to the

allegations contained in paragraph 3 of the complaint. —
4, Admits the allegations contained in paragraph 4 of the complaint.
FACTS

5. Admits the allegations contained in paragraph 5 of the complaint.
6, Denies allegations contained in paragraph 6 of the complaint; except
defendant admits that Defendant employed the Plaintiff.

7, Denies the allegations contained in paragraph 7 of the complaint: except
Defendant admits that Defendant is a railroad engaged in interstate
commerce and that when the Plaintiff acts within the scope of her
employment, she was acting and employed in furtherance of interstate
commerce.

8. Denies knowledge or information sufficient to form a belief as to the
allegations contained in paragraph 8 of the complaint.

FIRST CAUSE OF ACTION

9, In response to paragraph 9 of the complaint Defendant repeats and
reasserts each and every response to paragraphs 1 through 8 of the
complaint as though more fully set forth herein

10. Denies the allegations contained | in pean 10,10 a). 10 b), 1 11, 12 and .

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oO AS AND D FOR A FIRST AFFIRMATIVE DEFENSE

41. As and for ah affirmative defetise, or as a ‘étense in mitigation of oe
damages, the Defendant claims that any injuries allegedly sustained by the
Plaintiff were caused, in whole or in part, by reason of the culpable conduct of the

Plaintiff. .

WHEREFORE, the Defendant, demands judgment dismissing the complaint,
together with costs and disbursements, and expenses of this action, including attorneys’

fees.
Dated: New York, New York
May 18, 2018
Richard Gans, General Counsel
Metro-North Commuter Railroad

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ES

Jesse A. ed

Attgfneys for Defendant
Metro-North Commuter Railroad
420 Lexington Avenue

New York, New York 10170
(212) 340-2538 — raye@mnr.org

TO: ples:
George J. Cahill, Jr.
CAHILL & PERRY, P.C.
43 Trumbull Street

New Haven, CT 06510
Phone: (203) 777-1000

Fax: (203) 865-5904

Email: cahill@trainlaw.com

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

x
GISELLE PETERS,

Plaintiff, 18-cv-03053 (KBF)
-against-

RULE 7.1 STATEMENT
METRO-NORTH RAILROAD COMPANY,

Defendant.

x

*“METRO-NORTH COMMUTER RAILROAD (“Metto-North”) is a public
benefit corporation. See N.Y. Pub. Auth. L. §§1263 (1) 1264(2), et seq. (McKinney
_ 1999). Accordingly, Rule 7.1 does not apply to Metro-North.

Dated: New York, New York
, May 18, 2018
Richard Gans, General Counsel
Metro-North Commuter Railroad

eT
By: fe a Je
.  JesSe A. Rayé, Esq. l

torneys for Defendant
{etro-North Commuter Railroad
420 Lexington Avenue

New York, New York 10170
(212) 340-2538 — raye@mnr.org

TO: |
George J. Cahill, Jr.
CAHILL & PERRY, P.C.
43 Trumbull Street
New Haven, CT 06510
Phone: (203) 777-1000
Fax: (203) 865-5904

Email: cahill@trainlaw.com
AFFIDAVIT OF SERVICE

STATE OF NEW YORK )
)ssi.
COUNTY OF NEW YORK.)

Alison M, Pactong, being sworn says:

I am not a party to the action, am over 18 years of age and reside in Dutchess, New
York,

he

On May [g , 2018 I served a true copy of the annexed ANSWER and RULE 7.1 -
STATEMENT, by mailing the same in a sealed envelope, with postage prepaid thereon, in a
post-office or official depository of the U.S. Postal Service within the State of New York, addressed

to the last known address of the addressee(s) as indicated below:

TO: George J. Cahill, Jr.
CAHILL & PERRY, P.C.
43 Trumbull Street
New Haven, CT 06510
Phone: (203) 777-1000
Fax: (203) 865-5904
cahill@trainlaw.com

ADAM

Alison M. Pactong

MICHELLE LARRAGOITY
Notary oe eee State ce New me

Quatited nt Wostoheter' County
Commission Expires Jan 10, 20.

Crise fle bo he ee
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

x
GISELLE PETERS,
Plaintiff, _ 18-cv-03053 CKBF)
~against-
ANSWER
METRO-NORTH RAILROAD COMPANY,
DEFENDANT DEMANDS A
Defendant. oo BIFURCATED TRIAL
Xx

ANSWER and RULE 7.1 STATEMENT

